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                                                                             January 31, 2025

    BY ECF

    Hon. Taryn A. Merkl
    United States Magistrate Judge
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

           Re:     Trooper 1 v. NYSP et al., 22-cv-893 (LDH) (TAM)

    Dear Judge Merkl:

           We write pursuant to the Court’s December 11, 2024 Order in response to Charlotte
    Bennett’s meritless objections to her deposition subpoena (T1 ECF No. 301).

            In February 2021, Ms. Bennett came forward with false allegations against
    Governor Cuomo, which the OAG investigators took at face value and incorporated into
    the OAG Report. Trooper 1 subsequently grafted Ms. Bennett’s and other complainants’
    allegations into her Complaint against Governor Cuomo in order to bolster Trooper 1’s
    own allegations. And Ms. Bennett herself sued Governor Cuomo based on the same
    demonstrably false harassment allegations. Governor Cuomo has spent the past three years
    defending himself against Ms. Bennett’s bogus allegations, while Ms. Bennett has
    repeatedly sought to dodge being examined under oath about her claims. Ms. Bennett
    knows full well her allegations will not hold up to any questioning, which is exactly why
    she dismissed her own lawsuit on the eve of her deposition.

            Ms. Bennett is an important fact witness in Trooper 1’s case. On multiple occasions,
    this Court has recognized that a deposition of Ms. Bennett is relevant and proportional—
    and, in December, the Court specifically authorized Governor Cuomo to take Ms. Bennett’s
    deposition. Despite this, and despite Ms. Bennett’s publicly voiced concerns about defense
    costs in this case, Ms. Bennett is once again engaging in wasteful briefing, parroting the
    exact same relevance and harassment objections that she previously lodged and that the
    Court already rejected. Ms. Bennett’s objections had no merit when she first raised them
    two years ago and they still have no merit. If anything, the case for taking Ms. Bennett’s
    deposition has only gotten stronger as recent discovery confirms that Ms. Bennett did have
    a connection with Trooper 1 through another PSU member.

           The Court should reject Ms. Bennett’s objections and direct her to finally sit for a
    deposition.




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    Background

            On September 14, 2022, approximately six months after Trooper 1 filed her
    complaint, Ms. Bennett commenced the Bennett Action in the Southern District of New
    York alleging that Governor Cuomo sexually harassed her. Because of motion practice,
    discovery in the Bennett Action did not commence in earnest until the fall of 2023. In the
    meantime, on June 1, 2023, Governor Cuomo served a deposition subpoena on Bennett in
    the Trooper 1 Action. Ms. Bennett filed a motion to quash, arguing that the subpoena (i)
    was not warranted because her allegations are irrelevant to Trooper 1’s allegations, and (ii)
    was issued for the purposes of harassment. See T1 ECF No. 89. But Trooper 1 confirmed
    her intent to rely not only on Ms. Bennett’s allegations but also on the OAG Report, thereby
    foreclosing Ms. Bennett’s relevance objection.

           On November 20, 2023, Ms. Bennett filed a supplemental letter to the Court further
    opposing her deposition in the Trooper 1 Action, arguing that because Governor Cuomo
    would imminently have the opportunity to depose her in the Bennett Action, he should not
    have an “additional bite at the apple” by first deposing her in the Trooper 1 Action. T1 ECF
    No. 135 at 2. Thus, on January 16, 2024, the Court deferred ruling on Ms. Bennett’s motion
    to quash her deposition subpoena and directed the parties to meet and confer concerning
    the coordination of a single deposition (in the Bennett Action) that would also suffice for
    the Trooper 1 Action. T1 ECF No. 219 at 5. In other words, this Court recognized that Ms.
    Bennett is a material witness to Trooper 1’s lawsuit but a deposition in the Bennett Action
    would suffice for purposes of discovery in this case.

            In early 2024, based on Ms. Bennett’s representations that her document production
    was complete as of February 1, 2024, the parties in the Bennett Action scheduled her
    deposition for March 27, 2024. Ex. 1 at 2. But just before the deposition was to take place,
    Ms. Bennett acknowledged that her document production was incomplete, so the parties
    postponed her deposition to give her time to cure the significant deficiencies. Id. On the
    representation that Ms. Bennett would actually complete her production by the end of June
    2024, her deposition was rescheduled for October 28 and October 29, 2024. Id. But, again,
    Ms. Bennett failed to complete her production on the promised schedule, see id., and her
    deposition was pushed off yet again to December 18 and December 19, 2024. In the
    meantime, Ms. Bennett had produced tens of thousands of text and video messages that (i)
    flatly refuted and/or undermined her allegations, and (ii) confirmed that the OAG
    investigation was a sham, including because investigators never obtained the
    communications that undermined Ms. Bennett’s allegations.

           The documentary evidence against Ms. Bennett is overwhelming and she was
    desperate to avoid giving a deposition and to avoid being confronted with her
    communications. On December 9, 2024, more than two years into her own lawsuit, she
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    unilaterally and voluntarily dismissed the Bennett Action before she could be deposed. 1
    On December 10, 2024, this Court held a status conference concerning the remaining third-
    party depositions in the Trooper 1 Action. The following day, the Court issued an order
    authorizing Governor Cuomo to take six additional complainant depositions, including Ms.
    Bennett’s. Ms. Bennett’s objections followed.

    Ms. Bennett’s Objections Remain Unjustified and Without Merit

           In her objections, Ms. Bennett trots out the same arguments she made before that a
    deposition of her is not relevant or proportional to the needs of this case, and that Governor
    Cuomo is harassing her by taking discovery from her. It is wholly improper and wasteful
    for Ms. Bennett to continue arguments that this Court has already rejected, including, as
    Ms. Bennett suggests she should be able to do, by filing yet another motion to quash.
    Indeed, it is particularly outrageous for Ms. Bennett to force yet more briefing on the exact
    same issues given her purported concern that New York taxpayers are footing the bill for
    Governor Cuomo’s defense. Nevertheless, we will once more address Ms. Bennett’s
    meritless arguments.

             Relevance and Proportionality

            First, Ms. Bennett’s testimony is patently relevant to Trooper 1’s allegations.
    Trooper 1 placed Ms. Bennett’s allegations against Governor Cuomo at the forefront of
    this case by, among other things, alleging that Trooper 1 was “not the Governor’s only
    victim” and that Governor Cuomo “harassed numerous other women in the same manner
    that he harassed Trooper 1.” Am. Compl. ¶ 75. In support of this, Trooper 1 devotes more
    than ten pages of her Complaint to allegations concerning other complainants described in
    the OAG report, including thirteen paragraphs summarizing Ms. Bennett’s allegations
    concerning sexual harassment and retaliation. Id. ¶¶ 92–102, 144, 146. Indeed, Ms.
    Bennett’s name appears more than 30 times in the Complaint. Furthermore, Trooper 1
    identified Ms. Bennett as a witness with discoverable information. T1 ECF No. 107-6 at 5.
    Trooper 1 further made Ms. Bennett a relevant witness by relying on the OAG Investigation
    and Report. See OAG ECF No. 42-1. As Trooper 1’s counsel has repeatedly made clear,
    Trooper 1 intends to introduce the OAG Report at trial. Thus, the question of whether the
    OAG Report is a reliable document is squarely at issue in this case. How and whether the
    OAG investigated Bennett’s allegations is a crucial aspect of that inquiry.

            To defend against Trooper 1’s broad allegations, Governor Cuomo is entitled to
    obtain discovery addressing Ms. Bennett’s allegations, including testing the credibility (or

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      On December 3, 2024, less than a week before Ms. Bennett voluntarily dismissed her suit, Governor Cuomo
    filed a letter under seal in the Bennett Action detailing some of the evidence that undercut Ms. Bennett’s
    allegations and the reliability of the OAG Report. That letter and its exhibits are attached here as Exhibit 2.
    A public version of this letter with redactions was filed in the Bennett Action at ECF No. 329. Ms. Bennett
    explicitly cited this letter as one of the reasons she voluntarily dismissed her suit. See Statement from Debra
    Katz and Charlotte Bennett on Continuing New York State Case (December 9, 2024), available at
    https://katzbanks.com/news/katz-bennett-ny-case-statement/.
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    lack thereof) of her allegations. Prior to Ms. Bennett’s voluntary dismissal of her own
    federal lawsuit, Governor Cuomo obtained, through routine discovery, numerous
    communications that undercut nearly all of Ms. Bennett’s allegations. The OAG did not
    have the vast majority of Ms. Bennett’s highly relevant communications—either because
    Ms. Bennett deliberately withheld the information or because the OAG did not properly
    investigate the allegations, or (more likely) both. These contemporaneous communications
    that Ms. Bennett provided in the Bennett Action—but not to the OAG investigators—
    establish, contrary to her allegations, that at the time of their occurrence she was not
    offended but instead excited about many of the events that she now alleges constitute
    sexual harassment, that she was eager to discuss her prior history of sexual assault with
    Governor Cuomo, and that—just days before Governor Cuomo inquired about her mental
    health in June 2020—Ms. Bennett was deeply dissatisfied with her position in the
    Executive Chamber and undergoing a personal meltdown. See Ex. 2.

             Ms. Bennett argues a deposition is unwarranted because she has no “firsthand” or
    “unique secondhand” “knowledge of Trooper 1’s allegations of discrimination or
    retaliation,” nor of Governor Cuomo’s “purported defenses thereto.” ECF No. 301 at 2.
    But this argument is beside the point given the expansive scope of Trooper 1’s complaint,
    including Trooper 1’s reliance on the OAG Report and Ms. Bennett’s allegations. Further,
    though Ms. Bennett cherry-picks from an order where the Court acknowledged that there
    is no evidence Ms. Bennett knew Trooper 1, Ms. Bennett omits the part of the Order in
    which the Court acknowledged that Trooper 1 alleged that Governor Cuomo “engaged in
    harassing behavior towards [Bennett].” ECF No. 219.2 Because Trooper 1 has incorporated
    Ms. Bennett’s allegations into her lawsuit, and because Trooper 1 also relies on the OAG
    Report, Ms. Bennett’s testimony is highly relevant.

            Moreover, recent discovery in Trooper 1 indicates that Ms. Bennett likely does have
    some personal knowledge about Trooper 1’s allegations. In a March 2, 2021 text message
    exchange between Trooper 1 and Investigator Kyle Shillingford—a fellow PSU member
    who had a personal relationship with Ms. Bennett—Trooper 1 asked whether Investigator
    Shillingford told Ms. Bennett about Trooper 1. Ex. 3. Investigator Shillingford responded:
    “No but I think she knows.” Id. That Investigator Shillingford was a communications
    conduit between Ms. Bennett and Trooper 1 makes sense since at least some of Ms.
    Bennett’s coworkers in the Chamber became aware of Trooper 1’s allegations before those
    allegations were made public in the OAG Report. See id.

            Second, requiring Ms. Bennett to sit for a deposition is proportional to the needs of
    this case given that Trooper 1 has incorporated the OAG Report and Ms. Bennett’s
    allegations as part of her pleading. Though Ms. Bennett broadly argues that her deposition
    would be disproportionate because she is not a party, that statement could be made by any
    nonparty witness and does not provide a basis to evade a deposition. See ECF No. 301 at

    2
      In that same Order the Court deferred ruling on the deposition subpoena that Governor Cuomo had issued
    to Ms. Bennett because at that time it was (presumably) everyone’s understanding that Ms. Bennett would
    sit for a deposition in her own federal lawsuit.
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    3. Again, Ms. Bennett’s own allegations against Governor Cuomo—which she certainly
    has knowledge about—have been incorporated by Trooper 1 in this case.

           Harassment

            Finally, the Court should reject Ms. Bennett’s argument that Governor Cuomo is
    deposing her to harass her. There is nothing harassing about taking the deposition of a fact
    witness. Nonparty depositions are a routine part of discovery in any action, and this case is
    no exception. In fact, deposition subpoenas have been served on nearly 30 nonparty
    witnesses and 14 nonparty witnesses have already been deposed. Notwithstanding
    Bennett’s beliefs to the contrary, she is not being singled out and Governor Cuomo is not
    taking her deposition as part of some sort of “vendetta” against her. T1 ECF No. 301 at 4.

            Nor is it “litigation abuse” for Governor Cuomo to use routine discovery devices in
    his search for truth. Id. at 3. Governor Cuomo is entitled under the law to defend himself
    against the false sexual harassment claims that Ms. Bennett lodged against him and that
    Trooper 1 now relies on. In that vein, Ms. Bennett’s attempts to characterize the litigation
    process—both her now-dismissed lawsuit and this deposition subpoena—as some sort of
    personal war between her and Governor Cuomo miss the mark. This is civil discovery, not
    a battle. A one-day deposition in a law firm conference room could not be more banal. Ms.
    Bennett will be represented by counsel and the deposition will be conducted in accordance
    with the Federal Rules of Civil Procedure and subject to this Court’s ultimate supervision.
    It would not, as Ms. Bennett argues, “allow” Governor Cuomo “free rein to interrogate”
    her or any other witness. Id. at 4. Rather, it is clear that Ms. Bennett’s objection is simply
    a reflection of her continued desire to avoid having to answer questions under oath about
    how her own contemporaneous communications disprove her allegations.

           Ms. Bennett’s voluntary dismissal of her own federal lawsuit—days before she was
    scheduled to sit for her deposition in that case—does not relieve her of the obligations of
    the deposition subpoena here. The opposite is true. Because Ms. Bennett is not being
    deposed in her own case, it is even more critical for Governor Cuomo to have the chance
    to depose her here and now.

           Therefore, the Court should reject Ms. Bennett’s objections to the deposition
    subpoena and allow her deposition to proceed in accordance with the Court’s December
    11, 2024 order.

                                                          Respectfully submitted,

                                                          /s/ Theresa Trzaskoma

                                                          Theresa Trzaskoma
    Exhibits
